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IN THE UNITED STATES DISTRICT COURT FOR THE
NORTHERN DISTRICT OF NEW YORK


DR. A., NURSE A., DR. C., NURSE D., DR. F., DR. G,
THERAPIST I., DR. J., NURSE J., DR. M., NURSE N.,
DR. O., DR. P., TECHNOLOGIST P., DR. S., NURSE S.                    DECLARATION
and PHYSICIAN LIAISON X.,
                                                                     21 CV 1009 (DNH)(ML)
                                                       Plaintiffs,
                                                                     DECLARATION OF
                                v.                                   ELIZABETH RAUSCH-
KATHY HOCHUL, Governor of the State of New York, in                  PHUNG,
her official capacity; HOWARD ZUCKER, M.D.,                          M.D., M.P.H.
Commissioner of the New York State Department of
Health, in his official capacity; and LETITIA JAMES,
Attorney General of the State of New York, in her official
capacity,

                                                   Defendants.


ELIZABETH RAUSCH-PHUNG, M.D., M.P.H., declares under penalty of perjury, pursuant

to 28 U.S.C. § 1746, that the following is true:

       1)      I am the Medical Director of the Bureau of Immunization at New York State

Department of Health (“Department” or “DOH”). I have been employed by DOH for over 11

years. I oversee the Bureau of Immunization’s efforts to improve immunization coverage and

prevent vaccine-preventable diseases among New Yorkers of all ages. The Bureau of

Immunization is located within the Department’s Division of Epidemiology. I have overseen the

Department’s role in the mass vaccination sites across the state.

       2)      I received my M.D. degree from the State University of New York, Upstate

Medical University in 2003 and completed a residency in preventive medicine and a Master of

Public Health degree in 2009. I have been licensed to practice medicine in New York State since


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2008. I am currently board-certified in Preventive Medicine.

          3)       I make this declaration in opposition to the plaintiffs’ application for a

preliminary injunction. I am familiar with the facts set forth herein based on personal knowledge

and expertise and DOH records. I have also reviewed guidance from the Centers for Disease

Control & Prevention (“CDC”) and the State, executive orders issued by the Governor, as well as

studies and publications related to COVID-19.

                                                       Background


          4)       The Department and the Commissioner of Health (“Commissioner”) are charged

with the overarching responsibility to protect the public health pursuant to Public Health Law

(“PHL”) §§ 201 and 206. Specifically, pursuant to PHL § 201(1)(m), the Department “shall …

supervise and regulate the sanitary aspects … businesses and activities affecting public health.”

Pursuant to PHL § 206, the Commissioner “shall … take cognizance of the interests of health

and life of the people of the state, and of all matters pertaining thereto.” These statutes obligate

the Department and the Commissioner to take action when the public health is put at risk by an

unprecedented and unpredictable global pandemic, and the rapid outbreak of severe and fatal

respiratory illnesses associated therewith.

          5)       On August 23, 2021, DOH published a proposed Emergency Regulation to be

reviewed and adopted by the Public Health and Health Planning Council (“PHHPC”). 1 This




1 PHHPC    is a council within DOH that, in accordance with Section 225 of the Public Health Law, advises the Commissioner on
issues related to the preservation and improvement of public health. PHHPC’s functions include the approval of regulations
related to health codes, among other things. PHHPC also has a broad array of advisory and decision-marking responsibilities with
respect to New York State public health and health care delivery system. See Department’s Public Health and Health Planning
Council, found at https://www.health.ny.gov/facilities/public_health_and_health_planning_council/ (last viewed September 22,
2021).

                                                               2
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Emergency Regulation superseded the August 18, 2021 Order for Summary Action. The

Emergency Regulation expanded the scope of the Order for Summary Action to include other

healthcare facilities and omitted an explicit religious exemption. The Emergency Regulation was

adopted by PHHPC on August 26, 2021 and became effective August 26, 2021 for 90 days. 2 A

copy of the Emergency Regulation is annexed hereto as Exhibit A.

         6)        This Emergency Regulation was adopted based on rational determinations by the

Department and PHHPC that it was necessary to immediately address an ongoing and rapidly

worsening public health crisis. The Department has accumulated, compiled and analyzed data

and research regarding the nature and progression of COVID-19, its communicable nature, and

the effectiveness of layered mitigation strategies to prevent community spread. These

considerations provided a rational basis for the promulgation of the Emergency Regulation in

question on an emergency basis and the Department complied with SAPA in doing so.

         7)        Namely, despite the ending of the state disaster emergency on June 25, 2021,

“[w]ith the emergence of the Delta variant, a strain twice as transmissible as the SARS-CoV-2

strain, this does not mean that COVID-19 is gone. Cases have risen 10-fold since early July, with

the Delta variant accounting for 95% of recent sequenced positives in New York State.” See

Exhibit A.

         COVID-19 Variants Continue to Present a Grave Threat to Health and Safety

         8)        Despite the gains that New York has made, the pandemic is not over as numbers




2 In accordance with SAPA § 202(6)(b), the Emergency Regulation went into effect immediately upon filing. In accordance with

SAPA § 202, emergency regulations are effective for 90 days, subject to renewal.



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have continued to increase. The COVID-19 variants discovered in New York and around the

world create an increased risk for transmission and exacerbate the danger in situations that are

already considered risky by their nature.

        9)      The CDC conducts surveillance on SARS-CoV-2 strains to create a library of the

various specimens and sequences to better assist in the public health response. 3 A copy of the

CDC Scientific Brief: Emerging SARS-CoV-2 Variants is attached hereto as Exhibit B. Some

notable emerging variants were discovered in the United Kingdom (Alpha), South Africa (Beta),

and Brazil (Gamma), all of which spread easier than the original virus. Id. The current

predominant variant in the United States is the Delta variant, which is more than twice as

transmissible as these previous variants. A copy of the CDC’s Delta Variant: What We Know

About the Science is attached hereto as Exhibit C.

        10)     Indeed, in May 2021, only 1% of cases in New York were from the Delta variant.

A copy of news article University at Buffalo Researchers Taking a Closer Look at the Delta

Variant is attached hereto as Exhibit D. By July 2021, however, despite all of the predominant

COVID-19 variants found in New York; every new case except one that was genome sequenced

by scientists at the University of Buffalo was the Delta variant. A copy of Local Buffalo News

article, Every case except one was delta: NY scientists urge vaccines, masking as delta variant

rages is attached hereto as Exhibit E. The CDC variant proportions tracker for the region that

includes New York, New Jersey, Puerto Rico, and the Virgin Islands indicates that for the week




3
  On May 31, 2021, The World Health Organization (“WHO”) announced new naming labels for the variants of
interest and concern. See Tracking SARS-CoV-2 Variants, World Health Organization, found at
https://www.who.int/en/activities/tracking-SARS-CoV-2-variants/ (last viewed September 9, 2021).

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of September 12 to September 18, 2021, 98.4% of cases were Delta. 4 Based on data collected

for a 4-week period up to August 28, 2021, in New York State, 97.8% of cases were Delta. 5

        11)      Globally, scientists are seeking to understand the ease of the variants’

transmission and the efficacy of existing vaccines against them. See Exhibit B. A great deal of

new information about the variants’ “virologic, epidemiologic, and clinical characteristics” is

developing. Id.

        12)      According to the CDC, the Delta variant is more than two times more contagious

than previous variants and may cause more severe illness than previous variants in unvaccinated

people. See Exhibit C. “[D]ata show fully vaccinated persons are less likely than unvaccinated

persons to acquire SARS-CoV-2, and infections with the Delta variant in fully vaccinated

persons are associated with less severe clinical outcomes.” A copy of the CDC’s Science Brief:

COVID-19 Vaccines and Vaccination is attached hereto as Exhibit F. Although vaccinated

people can become infected and have the potential to spread the virus to others, they do so at

much lower rates than unvaccinated people. Id.; Exhibit C. SARS-CoV-2 transmission between

unvaccinated persons is the primary cause of continued spread. Exhibit F.

        13)      Additionally, all of the abovementioned variants have been characterized by the

CDC as variants of concern. A “variant of concern” is one “for which there is evidence of an

increase in transmissibility, more severe disease (e.g., increase hospitalizations or deaths),

significant reduction in neutralization by antibodies generated during previous infection or

vaccination, reduced effectiveness of treatments or vaccines, or diagnostic detection failures.” A


4
  See Variant Proportions, CDC, found at https://covid.cdc.gov/covid-data-tracker/#variant-proportions (last viewed
September 22, 2021).
5
  Id.

                                                        5
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copy of the CDC’s SARS-CoV-2 Variant Classifications and Definitions is attached hereto as

Exhibit G.

        14)     One of the key concerns in this regard is to ensure that New York State does not

return to the infection levels experienced during the spring of 2020 when the hospitals were

overwhelmed, which can lead to further unnecessary deaths. During the spring 2020, many

doctors and nurses came to help New York, as it had become the epicenter for the pandemic. As

the entire nation has now, at one point or another, faced high infection rates, New York can no

longer rely on the reserve of the additional volunteers.

        15)     On September 22, 2021, Johns Hopkins reported that globally, 229,698,682

individuals to date had tested positive for COVID-19, and a total of 4,711,795 confirmed

COVID-19 deaths worldwide. 6 In addition, 42,420,384 individuals in the United States had

tested positive for COVID-19 to date, and total 678,584 had died of COVID-19. Id.

        16)     The first surge of COVID-19 in New York was March-April-May 2020 and a

resurgence of the COVID-19 pandemic swept through the New York in November-December-

January 2020-2021, with previous variants. Now we are in the midst of another resurgence,

presently with highly transmittable Delta variant.

        17)     In New York, looking at testing data as of September 20, 2021, the total number

of individuals to date who had tested positive for COVID-19 was 2,363,842, 7 and as reported to




6
  See COVID-19 Dashboard, John Hopkins University of Medicine, found at https://coronavirus.jhu.edu/map.html
(last viewed September 22, 2021).
7
  See NYSDOH COVID-19 Tracker, found at https://covid19tracker.health.ny.gov/views/NYS-COVID19-
Tracker/NYSDOHCOVID-19Tracker-
Map?%253Aembed=yes&%253Atoolbar=no&%3AisGuestRedirectFromVizportal=y&%3Aembed=y (last viewed
September 22, 2021).

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and compiled by the CDC, the number of individuals who had died of COVID-19 was 56,309. 8

       18)     On September 20, 2021, 143,765 were tested for COVID-19 and there were 5,242

new positive COVID-19 cases in New York State. This is a total positivity rate of 3.64%. 9

Despite the gains that New York has made, the pandemic is not over as numbers have continued

to increase.

       19)     Governor Cuomo ended the state disaster emergency to fight COVID-19 on June

25, 2021, citing declining hospitalization and positivity statewide, as well as success in

vaccination rates. A copy of the Governor’s June 23, 2021 Press Release is attached hereto as

Exhibit H.

       20)     However, with the emergence of the Delta variant, a strain twice as transmissible

as the SARS-CoV-2 strain, this does not mean that COVID-19 is gone. See Exhibit A.

       21)     With the state disaster emergency ended but the with the continuing need to

control the spread of the prevalent Delta variant, Commissioner Zucker “recommend[ed]

following guidance from the CDC and local health departments.” A copy of the August 5, 2021

Press Release “Statement from New York State Department of Health Commissioner Dr.

Howard Zucker” is attached hereto as Exhibit I.

                                The Importance of Vaccinations

       22)     Fully vaccinated individuals are less likely to spread infectious diseases to


8
  See NYSDOH, COVID-19 Tracker, Fatalities by County, found at
https://covid19tracker.health.ny.gov/views/NYS-COVID19-Tracker/NYSDOHCOVID-19Tracker-
Fatalities?%253Aembed=yes&%253Atoolbar=no&%3AisGuestRedirectFromVizportal=y&%3Aembed=y (last
viewed September 22, 2021).
9
  See NYSDOH, COVID-19 Tracker, Daily Totals: Persons Tested and Persons Tested Positive, found at
https://covid19tracker.health.ny.gov/views/NYS-COVID19-Tracker/NYSDOHCOVID-19Tracker-
DailyTracker?%253Aembed=yes&%253Atoolbar=no&%3AisGuestRedirectFromVizportal=y&%3Aembed=y (last
viewed September 22, 2021).

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other people, including people who cannot get vaccinated because they are too young, or they

have a weakened immune system.

        23)     COVID-19 is not the only serious preventable disease that is of concern. The

CDC declared vaccination to be one of the ten greatest public health achievements of the

twentieth century. The introduction and widespread use of vaccines have profoundly reduced the

occurrence of many serious infectious diseases. Prior to vaccines, thousands of children each

year, living in the United States, could expect to die or be left with life-long disabilities as a

result of contracting diseases that are now preventable by vaccination, such as smallpox,

poliomyelitis, rubella, measles, diphtheria and pertussis. If enough people stop getting

vaccinated, outbreaks of now-rare, preventable diseases would return, as happened with the

2018-2019 measles outbreak in New York State − the worst measles outbreak in the United

States in more than 25 years.

        24)     For instance, rubella and polio have both been declared eliminated from the

United States, however they both have occurred in other countries and therefore, unvaccinated

New Yorkers remain at risk of those diseases if they either travel to those countries or have

contact with people sick with rubella or polio visiting from or returning from travel to countries

in which they are circulating.

        25)     The worldwide eradication of smallpox and the near-eradication of poliomyelitis

can be directly attributed to vaccination. Similarly, once commonly encountered and often

deadly diseases such as diphtheria and rubella are becoming a rarity in the United States as a

result of the routine use of vaccination against these and other infectious diseases




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       26)     When immunization coverage rates drop, even in only localized or isolated

communities, the risk of vaccine preventable disease outbreaks rises, as we saw in the 2018-2019

measles outbreak, which resulted in a large number of cases spreading quickly in relatively small

communities that had very low rates of MMR vaccination coverage (within a state that had a

high overall MMR vaccine coverage). Vaccination mandates are in place not only to protect, for

instance, children in close proximity in a classroom setting or patients and staff in close hospital

quarters, but more importantly, the public at large. There remains a risk to the public if

unimmunized individuals in the community begin to grow in number. If immunization rates for

vaccine-preventable diseases begin to drop, New York State could face the precarious scenario

of dealing with multiple outbreaks of communicable diseases at the same time. To risk another

serious wave of the COVID-19 pandemic outbreak, during a time when New York State’s public

health resources are already incredibly strained, would be extremely irresponsible.

                                History of COVID-19 Vaccinations

       27) The United States Food and Drug Administration (“FDA”) may issue an

Emergency Use Authorization (“EUA”) to facilitate the availability of vaccinations during public

health emergencies, such as the COVID-19 pandemic. This allows an unapproved medical

product to prevent serious life-threatening diseases in an emergency when certain criteria have

been met and there are no adequate or approved alternatives. A copy of the FDA’s Emergency

Use Authorization for Vaccines Explained is attached hereto as Exhibit J.

       28) On December 11, 2020, the FDA issued its first EUA for the Pfizer COVID-19

vaccine for those ages 16 and older. A copy of the FDA’s December 11, 2020 News Release is

attached hereto as Exhibit K.


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       29) On December 18, 2020, the FDA issued an EUA for the Moderna COVID-19

vaccine for use by those ages 18 and older. A copy of the FDA’s December 18, 2020 News

Release is attached hereto as Exhibit L.

       30) On February 27, 2021, the FDA issued an EUA Janssen COVID-19 Vaccine for use

in ages 18 or older. A copy of the FA’s February 27, 2021 News Release is attached hereto as

Exhibit M.

       31) On May 10, 2021, the FDA expanded the EUA for the Pfizer COVID-19

vaccination to include individuals ages 12-15 years of age. A copy of the FDA’s May 10, 2021

News Release is attached hereto as Exhibit N.

       32) On August 12, 2021, the FDA amended the EUAs for the Pfizer and Moderna

vaccination for use of an additional dose in immunocompromised individuals. A copy of the

FDA’s August 12, 2021 News Release is attached hereto as Exhibit O.

       33) On August 23, 2021, the FDA approved the first COVID-19 vaccine − the Pfizer-

BioNTech COVID-19 Vaccine − for the prevention of COVID-19 in those ages 16 and older.

The vaccine continues to be made available under emergency use authorization (EUA) for those

aged 12-15. A copy of the FDA’s Comirnaty and Pfizer-BioNTech COVID-19 Vaccine is

attached hereto as Exhibit P.

       34) On September 17, 2021, the FDA voted to recommend EUA for a booster dose of

the Pfizer vaccine in individuals 65 years of age or older and for individuals at high risk of

severe COVID-19, to be administered at least six months after the two-dose series. The panel

agreed that healthcare workers and others at high risk of occupational exposure should be

included in this EUA. A copy of the September 17, 2021 Press Release is attached hereto as


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Exhibit Q.

                           The Development of COVID-19 Vaccines

       35)    There is an important distinction between what is in the actual makeup of the

vaccines versus what was used in the research and development of the vaccines. None of the

FDA approved final COVID-19 vaccine products contain any fetal cells.

       36)    Each of the manufacturers of COVID-19 vaccines currently authorized for use in

the U.S. have statements on their websites that they do not contain fetal cell lines nor human-

derived materials.

       37)    The Moderna website states “[t]he Moderna COVID-19 Vaccine does not contain

any preservatives, antibiotics, adjuvants, or materials of human or animal origin. The Moderna

COVID-19 vaccine does not use fetal cell lines during the vaccine manufacturing or lot testing.”

A copy of the Moderna website text is attached hereto as Exhibit R.

       38)    The Pfizer website states that “[a]nimal or human fetal-derived cell lines are not

used to produce Comirnaty (also known as Pfizer-BioNTech COVID-19 Vaccine), which

consists of synthetic and enzymatically produced components.” A copy of the Pfizer website text

is attached hereto as Exhibit S.

       39)    The Janssen website states that “[t]here is no fetal tissue nor any human cells

present in the Janssen COVID-19 Vaccine (Ad26.COV2.S; JNJ-78436735).” A copy of the

Janssen website text is attached hereto as Exhibit T.

       40)    In sum, while none of the FDA approved COVID-19 vaccines contain any fetal

cells, fetal cell lines were only “used in testing during research and development of the mRNA

vaccines [Moderna or Pzifer], and during production of the Johnson and Johnson [Janssen]


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vaccine.” A copy of the Nebraska Medicine’s You asked, we answered: Do the COVID-19

Vaccines Contain Aborted Fetal Cells is attached hereto as Exhibit U.

       41)    A North Dakota Department of Health COVID-19 vaccine handout also notes that

“[h]istorical fetal cell lines were derived in the 1960’s and 1970’s from two elective abortions

and have been used to create vaccines for diseases such as hepatitis A, rubella, and rabies.” The

North Dakota Department of Health handout COVID-19 Vaccines & Fetal Cell Lines is attached

hereto as Exhibit V.

       42)    Further, fetal cell lines have been used in other medical technologies. This process

is not new.

       43)    For instance, fetal cell lines have been used to develop Rubella, hepatitis A and

varicella-containing vaccines. A copy of CNN’s How Exactly Fetal Tissue is Used for Medicine

is attached hereto as Exhibit W.

       44)    Importantly, the Rubella vaccination, developed using the same fetal cell lines, is

already required of healthcare workers in New York State.

       45)    Fetal cells have also been used in “hundreds of thousands of other research

projects” including the improvement of techniques for and the study of in vitro fertilization,

“birth defects, eye diseases, Parkinson’s Alzheimer’s disease, AIDS, and spinal cord injuries.” A

copy of NBC News What is fetal tissue research? And why is it important to medicine? is

attached hereto as Exhibit X.




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                        Religious Exemption to COVID-19 Vaccinations

        46)     The absence of religious exemptions in mandatory vaccination laws is not a novel

concept in New York State and the Emergency Regulation’s silence as to a religious exemption

is consistent with other mandatory vaccination laws for healthcare workers.

        47)     Existing regulations require that all persons who work at hospitals, nursing

homes, diagnostic and treatment centers, home health agencies and programs and hospices be

immune to measles and rubella. While these regulations all provide for a medical exemption,

none of these regulations provide for a religious exemption. See 10 NYCRR § 405.3 (requiring

measles and rubella immunizations for all hospital personnel with an exception for physicians

practicing medicine from remote location); 10 NYCRR § 415.26 (requiring measles and rubella

immunizations for all nursing home personnel except for those with no clinical or patient contact

responsibilities and who are located in a building with no patient care services); 10 NYCRR

§ 751.6 (requiring measles and rubella vaccinations for all employees of diagnostic and treatment

centers); 10 NYCRR § 763.13 (requiring measles and rubella vaccinations prior to patient care

duties, for all personnel of certified home health agencies, long term home health care programs,

and AIDS home care programs); 10 NYCRR § 766.11 (requiring measles and rubella

vaccinations for all health care personnel of licensed home care services agencies who have

direct patient contact); and 10 NYCRR § 794.3 (requiring measles and rubella vaccinations for

all hospice personnel, including direct employees, contract staff, and volunteers who have direct

patient or family contact); 10 NYCRR § 1001.11 (requiring measles and rubella vaccinations for

all assisted living residences personnel, including all direct care staff).




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       48)      The absence of a religious exemption in 10 NYCRR § 2.61 is consistent with all

of the above pre-existing regulations relevant to healthcare workers. To provide otherwise for

solely the COVID-19 vaccination mandate would be inconsistent with similar regulations, which

all seek to advance similar goals of preventing the transmission of infectious diseases among

health care personnel, staff, and patients.

       49)      Similar to the majority of the above regulations, 10 NYCRR § 2.61 recognizes

that the greatest threat of transmission is posed by healthcare personnel who have direct contact

with other staff and patients. Therefore, the vaccination mandate in 10 NYCRR § 2.61 is

appropriately limited to only those personnel “who engage in activities such that if they were

infected with COVID-19, they could potentially expose other covered personnel, patients,

residents to the disease.”

       50)      Mandatory school entry vaccination laws similarly do not provide for a religious

exemption.

       51)      As part of the multi-faceted approach to addressing the 2018-2019 measles

outbreak, on June 13, 2019, New York State signed into law legislation which removed religious

exemptions from school vaccination requirements for children in prekindergarten-12th grade

(“religious exemption repeal”). (Laws of 2019, Chapter 35, which, among other things, repealed

former NYS Public Health Law § 2164(9)). The law now treats individuals with religious beliefs

contrary to immunization exactly the same as individuals with non-religious beliefs contrary to

immunization.

       52)      Chapter 35 of the Laws of 2019 eliminated non-medical (i.e., religious)

exemptions to vaccination requirements.


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               Basis for Mandating COVID-19 Vaccines for Health Care Personnel

         53)      As set forth above, the highly contagious Delta Variant is spreading across the

nation and across New York. Delta is currently the predominant variant of the virus in the United

States. Exhibit C. Health care workers have higher rates of infection than people in other

fields. A copy of the Annals of Internal Medicine, The Case for Mandating COVID-19 Vaccines

for Health Care Workers is attached hereto as Exhibit Y. The mortality rate of COVID-19 is

estimated to be 1 in 100 to 250. A copy of SARS-CoV-2 Antibody Prevalence in England

Following the First Peak of the Pandemic is attached hereto as Exhibit Z. In 2020 alone,

SARS-CoV-2 is estimated to have caused more than 522,000 excess deaths in the United States.

A copy of Excess Deaths from COVID-19 and Other Causes in the US, March 1, 2020 to

January 2, 2021 is attached hereto as Exhibit AA.

         54)      Patient facing healthcare professionals and their household members have

threefold and twofold increased risks of admission with COVID-19. A copy of the Risk of

Hospital Admission with Coronavirus Disease 2019 in Healthcare Workers and their

Households: Nationwide Linkage Cohort Study is attached hereto as Exhibit BB. According to

the CDC, to date, 557,585 US health care personnel have contracted COVID-19 and 1,768 have

died of COVID-19. 10

         55)      Further, health care workers tend to persons who are elderly, sick, and vulnerable,

who might not be vaccinated because they are either too young or have contraindications, or who

might not gain sufficient immunity from the vaccine to provide adequate protection from severe



10 Cases & Deaths Among Healthcare Personnel, CDC, found at https://covid.cdc.gov/covid-data-tracker/#health-care-
personnel (last viewed September 22, 2021).

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illness, such as immunocompromised individuals. A copy of the Safety and Immunogenicity of

of Anti-SARS-CoV-2 Messenger RNA Vaccines in Recipients of Solid Organ Transplants is

attached hereto as Exhibit CC. Vaccinating healthcare workers would protect even the

unvaccinated patients because COVID-19 vaccines are associated with fewer infections overall

and less risk of transmission.

       56)     More than “50 health care professional societies and organizations [have] called

for all health care employers to require their employees to be vaccinated against COVID-19 in a

joint statement released” on July 26, 2021. These include, but are not limited to, the “American

Medical Association, American Nurses Association, American Academy of Pediatrics,

Association of American Medical Colleges, and National Association for Home Care and

Hospice”, as well as the American Academy of PAs, American Pharmacists Association, the

National Hispanic Medical Association, the American Public Health Association, American

Academy of Child and Adolescent Psychiatry and the Infectious Diseases Society of America. A

copy of Major Health Care Professional Organizations Call for COVID-19 Vaccine Mandates

for All Health Workers is attached hereto as Exhibit DD.

       57)     Dr. Audiey Kao, MD, PhD, the American Medical Association’s Vice President

of Ethics, made it clear that “Do no harm is a core ethic for all those who care for the sick and

injured. . . . [A]ll those working in the health care system have a fundamental obligation to

patients by getting vaccinated for preventable diseases such as COVID-19.” A copy the

American Medical Association’s Why COVID-19 Vaccination Should be Required for Health

Professionals is attached hereto as Exhibit EE. Dr. Ezekiel Emanuel, the vice provost for global

initiatives at the University of Pennsylvania, also emphasized that “‘No patient should have to


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worry that they could become infected by one of their care providers, and no provider should put

their patient at risk.’” Exhibit DD. For example, the president of the American Society of

Clinical Oncology stated that “‘[p]atients with cancer need to know that their environment,

including the people who care for them, is as safe as possible.’” Id. This collective statement

unequivocally supports the requirement for universal vaccination of health workers.

       58)     Other organizations have separately stated their support for healthcare worker

vaccination requirements. For example, the American Association of Nurse Anesthesiology,

American Association of Critical-Care Nurses, National Association of Neonatal Nurses, and the

American College of Occupational and Environmental Medicine. A copy these statements are

attached hereto as Exhibits FF-II. These organizations have stated that vaccinations to health

care team members will not only reduce the burden of this disease on acute and critical -care

units and communities, but will prevent further harm to front line workers. Exhibit GG.

Further, healthcare workers and their employers benefit from required vaccinations because

“COVID-19 is more disruptive to the workforce and hospital/health care operations than any

disease encountered in the last century due to required quarantining and potential length of

illness.” Exhibit II.

       59)     On July 26, 2021, the Department of Veterans Affairs mandated COVID-19

vaccines for health care personnel who work in Veterans Health Administration facilities, visit

those facilities or provide direct care to those the VA serves. A copy of the July 26, 2021 News

Release is attached hereto as Exhibit JJ. On August 12, 2021, the Department of Health and

Human Services Secretary announced that “more than 25,000 members of its health care

workforce [will be required] to be vaccinated against COVID-19.” A copy of the August 12,


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2021 Press Release is attached hereto as Exhibit KK. This includes staff at the Indian Health

Service and National Institutes of Health who either “interact with, or have the potential to come

into contact with, patients.” Id. The U.S. Surgeon General also immediately required “members

of the U.S. Public Health Service Commissioned Corps” to be vaccinated. Id.

       60)     The CDC has also recommended that healthcare personnel all receive the

COVID-19 vaccination, as they “continue to be on the front line of the nation’s fight against

COVID-19,” by “providing critical care to those who are or might be infected with the virus that

causes COVID-19.” A copy of the CDC’s COVID-19 Vaccines for Healthcare Personnel is

attached hereto as Exhibit LL.

       61)     The CDC has also recognized that achieving high vaccination rates in particularly

vulnerable settings, such as long-term care facilities (“LTCF”), is of the utmost importance, since

residents of these facilities are at high risk for COVID-19 associated mortality. “As of March

2021, deaths among LTCF residents and HCP have accounted for almost one third . . . of

COVID-19 associated deaths in the United States.” This is why early vaccination of these

groups were prioritized. A copy of the CDC’s Disparities in COVID-19 Vaccination Coverage

Among Health Care Personnel Working in Long-Term Care Facilities, by Job Category,

National Healthcare Safety Network – United States, March 2021 is attached hereto as Exhibit

MM.

       62)     The CDC has expressed concern that “COVID-19 outbreaks have occurred in

LTCF in which residents were highly vaccinated, but transmission occurred through

unvaccinated staff members.” Id. Partial vaccination of staff provides insufficient protection.

For example, in Kentucky, an outbreak occurred in a skilled nursing facility with 90.4% of its


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residents vaccinated, after introduction from “an unvaccinated, symptomatic” healthcare

provider. A copy of the CDC’s COVID-19 Outbreak Associated with a SARS-CoV-2 R.1

Lineage Variant in a Skilled Nursing Facility After Vaccination Program – Kentucky, March

2021 is attached hereto as Exhibit NN. The CDC’s study found that “[a]ttack rates were three to

four times as high among unvaccinated residents and HCP as among those who were vaccinated;

vaccinated persons were significantly less likely to experience symptoms or require

hospitalization.” Id. Ultimately, 46 residents and HCP were infected. Id.

       63)     Per the Emergency Regulation, current personnel are set to receive their first dose

by September 27, 2021 for general hospitals and nursing homes, and by October 7, 2021 for all

other covered entities. Time is of the essence. The Department is concerned that the numbers of

COVID-19 cases will continue to increase, especially given the fall and winter seasons. The

cold weather and upcoming holiday gatherings are likely to keep people indoors together,

increasing the likelihood that COVID-19 can spread from person to person, given the highly

contagious nature of the disease. Additionally, as cold and flu season has arrived, the varying

symptoms of COVID-19 (i.e. cough, fever, fatigue, muscle or body aches, headache, sore throat,

congestion or runny nose, among others) could easily be mistaken for a cold or the flu. Again,

this will increase the likelihood the people with COVID-19 will go untreated for longer and in

the interim, potentially spread the disease to others.

       64)     Reducing the number of unvaccinated personnel who can expose vulnerable

patients to the potentially deadly disease in the healthcare setting is of utmost importance. To

accomplish this goal, it is imperative that the regulation limit the allowed exemptions. According

to Dr. Kao “AMA's position is that nonmedical exemptions, such as religious or philosophic


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objections to vaccinations, endanger the health of the unvaccinated individual and those whom

the individual comes in contact with, so the AMA supports legislation eliminating nonmedical

exemptions from immunizations.” A copy of the AMA’s Audiey Kao, MD, PhD, on Mandating

Vaccines for Health Care Workers is attached hereto as Exhibit OO.

       65)      According to the CDC, the COVID-19 vaccines are safe for almost all patients.

To date, more than 380 million doses of COVID-19 vaccine have been administered in the

Unites States. A copy of the CDC’s Safety of COVID-19 Vaccines is attached hereto as Exhibit

PP. Despite the exceedingly large number of vaccinations, serious side effects have been

extremely rare. A recent analysis by the CDC’s Advisory Committee on Immunization Practices

found that the known and projected benefits of COVID-19 vaccines far outweigh potential risks.

A copy of the CDC’s COVID-19 Vaccines in Adults: Benefit-Risk Discussion is attached hereto

as Exhibit QQ. In addition to being evaluated in tens of thousands of participants in clinical

trials, the vaccines met the FDA’s rigorous scientific standards for safety, effectiveness, and

manufacturing quality needed to support authorization of the vaccine. Exhibit PP.

       66)     According to Dr. David Dowdy, an epidemiologist at the Johns Hopkins

Bloomberg School of Public Health, there are no immediate health issues or side effects for most

people with pre-existing medical conditions and the data so far shows that less than one in one

million people experience the rare side effect of anaphylaxis. A copy of ABC News’ Few

People Medically Exempt from Getting COVID-19 Vaccine: Experts is attached hereto as

Exhibit RR. The incidence of vaccine-induced Thrombosis with Thrombocytopenia Syndrome,

another rare side effect, is about .9 per million people after the Johnson & Johnson Vaccine. A

copy of the American College of Cardiology’s Vaccine-Induced thrombotic Thrombocytopenia


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(VITT) and COVID-19 Vaccines: What Cardiovascular Clinicians Need to Know is attached

hereto as Exhibit SS. Vaccine-induced Thrombosis with Thrombocytopenia Syndrome has not

been reported in patients who received the Moderna or Pfizer COVID-19 vaccines. Id.

According to the CDC’s analysis of the risks and benefits of each of the U.S. COVID-19

vaccines, for every million doses of mRNA vaccine given to adults, there were only 3.5 reported

cases of myocarditis. Exhibit QQ. And for every million doses of Janssen vaccine given to

adults, there were only 3 reported cases of Thrombosis with Thrombocytopenia Syndrome and

7.8 cases of Guillain-Barre Syndrome. Id.

               COVID-19 Vaccine for Persons Who Have Recovered from COVID-19

       67)     While being infected with COVID-19 may offer some immunity, and reinfection

is unlikely in the 90 days after initial infection, experts do not know how long that protection

lasts. A copy of the CDC’s Answering Patients’ Questions About COVID-19 Vaccine and

Vaccination is attached hereto as Exhibit TT. Multiple studies have shown, however, that the

vaccine is more effective at protecting against COVID-19 than natural immunity. According to a

recent report, neutralizing antibodies from people vaccinated with the Moderna COVID-19

vaccine bind more broadly to the SARS-CoV-2 receptor binding domain than antibodies from

people with prior COVID-19 infection. A copy of Antibodies Elicited by mRNA-1273

Vaccination Bind More Broadly to the Receptor Binding Domain Than do Those form SARS-

CoV-2 Infection is attached hereto as Exhibit UU. This means that vaccine-induced antibodies

appear to be better able than infection-induced antibodies to bind to variant strains. Id.

       68)     A cross-sectional study that monitored antibody and memory B-cell levels among

63 people who had recovered from COVID-19 found that, although in the absence of


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